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                                                                                            CLOSED
                             U.S. District Court
                      Northern District of Texas (Dallas)
             CRIMINAL DOCKET FOR CASE #: 3:23−mj−00007−BH−1

Case title: USA v. Wilson                                    Date Filed: 01/05/2023

Other court case number: 4:22−cr−20610−SDK Eastern District Date Terminated: 01/06/2023
                         of Michigan (Flint)

Assigned to: Magistrate Judge
Irma Carrillo Ramirez

Defendant (1)
Jacobie A. Wilson                     represented by Federal Public Defender
TERMINATED: 01/06/2023                               Federal Public Defender − Dallas
                                                     525 Griffin St
                                                     Suite 629
                                                     Dallas, TX 75202
                                                     214−767−2746
                                                     Fax: 214−767−2886
                                                     Email: jason_hawkins@fd.org
                                                     ATTORNEY TO BE NOTICED
                                                     Designation: Federal Public Defender Appointment
                                                     Bar Status: Admitted/In Good Standing

Pending Counts                                      Disposition
None

Highest Offense Level (Opening)
None

Terminated Counts                                   Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                          Disposition
Out of district arrest; 18 U.S.C. §
924(c)(1)(A) Possession of a
Firearm in Furtherance of a Drug
Trafficking Crime

                                                                                                        1
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Plaintiff
USA                                          represented by John J de la Garza−DOJ , III
                                                            US Attorney's Office
                                                            1100 Commerce
                                                            3rd Floor
                                                            Dallas, TX 75242
                                                            214−659−8682
                                                            Fax: 214−659−8803
                                                            Email: john.delagarza@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: US Attorney's Office
                                                            Bar Status: Admitted/In Good Standing

 Date Filed   # Page Docket Text
 01/05/2023   1       Rule 5 (Indictment) as to Jacobie A. Wilson (1). In each Notice of Electronic
                      Filing, the judge assignment is indicated, and a link to the Judges Copy
                      Requirements and Judge Specific Requirements is provided. The court reminds
                      the filer that any required copy of this and future documents must be delivered to
                      the judge, in the manner prescribed, within three business days of filing.
                      (Attachments: # 1 Additional Page(s) warrant) (mcrd) (Entered: 01/05/2023)
 01/06/2023           Arrest (Rule 5) of Jacobie A. Wilson. Case Number 4:22−cr−20610−SDK−CI
                      from Eastern District of Michigan (Flint). (mcrd) (Entered: 01/06/2023)
 01/06/2023   2       MOTION for Detention, MOTION to Continue filed by USA as to Jacobie A.
                      Wilson (mcrd) (Entered: 01/06/2023)
 01/06/2023   3       ELECTRONIC ORDER As to Jacobie A. Wilson: by this order −− issued to the
                      prosecution and defense counsel −− the court confirms the disclosure obligation
                      of the prosecutor under Brady v. Maryland, 373 U.S. 83 (1963), and its progeny,
                      and the possible consequences of violating such order under applicable law.

                      This written order is entered pursuant to Rule 5(f)(1) of the Federal Rules of
                      Criminal Procedure, and is in addition to the oral order entered by the court on
                      the first scheduled court date when both the prosecutor and defense counsel were
                      present. (Ordered by Magistrate Judge Irma Carrillo Ramirez on 1/6/2023)
                      (mcrd) (Entered: 01/06/2023)
 01/06/2023   4       ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Jacobie A.
                      Wilson. Federal Public Defender for Jacobie A. Wilson appointed. (Ordered by
                      Magistrate Judge Irma Carrillo Ramirez on 1/6/2023) (mcrd) (Entered:
                      01/06/2023)
 01/06/2023   5       WAIVER of Rule 5 Hearings by Jacobie A. Wilson (mcrd) (Entered:
                      01/06/2023)
 01/06/2023   6       ELECTRONIC ORDER finding as moot the 2 Motion to Continue Detention
                      Hearing as to Jacobie A. Wilson (1). (Ordered by Magistrate Judge Irma Carrillo
                      Ramirez on 1/6/2023) (mcrd) (Entered: 01/06/2023)


                                                                                                           2
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01/06/2023   7     Minute Entry for proceedings held before Magistrate Judge Irma Carrillo
                   Ramirez: Initial Appearance as to Jacobie A. Wilson held on 1/6/2023. Date of
                   Arrest: 1/5/2023. Attorney Appearances: AUSA − John De La Garza; Defense −
                   Maria Chin. (No exhibits) Time in Court − :05. (Court Reporter: Digital File)
                   (Interpreter N/A.) (USPO Lujan.) (mcrd) (Entered: 01/06/2023)
01/06/2023   8     (Document Restricted) CJA 23 Financial Affidavit by Jacobie A. Wilson (mcrd)
                   (Entered: 01/06/2023)
01/06/2023   9     Report of Proceedings under Rule 5(c)(3) and 5.1 as to Jacobie A. Wilson.
                   Defendant is removed forthwith to the district in which he is charged. Paperwork
                   sent to Eastern District of Michigan (Flint). (Ordered by Magistrate Judge Irma
                   Carrillo Ramirez on 1/6/2023) (mcrd) (Entered: 01/06/2023)




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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA
                                                       NO. 3:23-MJ-007-BH
v.

JACOBIE A. WILSON

     MOTION FOR DETENTION AND TO CONTINUE DETENTION HEARING

       The United States moves for detention of defendant, Jacobie A. Wilson, pursuant

to 18 U.S.C. § 3142(f):

       1. Eligibility of Case. This case is eligible for a detention order because the case

involves (check all that apply):

                    Crime of violence (18 U.S.C. §3156);

                    Maximum sentence life imprisonment or death

                 X 10 + year drug offense

                    Felony, with two prior convictions in above categories

                X   Serious risk defendant will flee

                    Serious risk obstruction of justice

                    Felony involving a minor victim

                 X Felony involving a firearm, destructive device, or any other

              dangerous weapon

                    Felony involving a failure to register (18 U.S.C. § 2250)

                    Petition for Supervised Release Revocation was filed

Motion for Detention & Continuance - Page 1




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              2. Reason for Detention. The Court should detain defendant because there

are no conditions of release which will reasonably assure (check one or both):

                 X    Defendant’s appearance as required

                 X    Safety of any other person and the community

       3. Rebuttable Presumption. The United States will/will not invoke the rebuttable

presumption against defendant because (check one or both):

                 X     Probable cause to believe defendant committed 10+ year drug

                      offense or firearms offense,

                     Probable cause to believe defendant committed a federal crime of

                      terrorism, 18 U.S.C. § 2332b(g)(5)

                     Probable cause to believe defendant committed an offense involving

                      a minor, 18 U.S.C. §§ 1201, 2251

                     Previous conviction for “eligible” offense committed while on

                      pretrial bond

                     Probable cause to believe Defendant violated terms of Supervised

                     Release, FRCP 32.1(a)(6)

       4. Time For Detention Hearing. The United States requests the Court conduct the

detention hearing,

                     At first appearance

                X After continuance of 3        days (not more than 3).




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DATED this 6th day of January, 2023.

                                              Respectfully submitted,

                                              LEIGHA SIMONTON
                                              UNITED STATES ATTORNEY

                                               /s/ John J. de la Garza III
                                              JOHN J. DE LA GARZA III
                                              Assistant United States Attorney
                                              Texas Bar #00796455
                                              1100 Commerce Street, Third Floor
                                              Dallas, Texas 75242-1699
                                              Telephone: 214-659-8682
                                              E-mail: john.delagarza@usdoj.gov


                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing will be served on counsel for the

defendant in accordance with the Federal Rules of Criminal Procedure on the 6th day of

January, 2023.

                                                /s/ John J. de la Garza III
                                              JOHN J. DE LA GARZA III
                                              Assistant United States Attorney




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                                    UNITED STATES DISTRICT COURT
                                     FOR THE Northern District of Texas
                                                 Dallas



                                                     )
USA                                                  )
        Plaintiff,                                   )
                                                     )
v.                                                   )     Case Number: 3:23−mj−00007−BH
                                                     )
Jacobie A. Wilson                                    )
        Defendant.                                   )


                         ORDER APPOINTING FEDERAL PUBLIC DEFENDER

        Based on the defendant's sworn Financial Affidavit and representations in open court, the

Court finds that the defendant is financially unable to obtain counsel. Pursuant to 18 USC § 3006A,

the Federal Public Defender for the Northern District of Texas is appointed as counsel of record for

the defendant for all proceedings, including any appeal.

        SO ORDERED ON 1/6/2023.




                                                           Irma Carrillo Ramirez
                                                           Magistrate Judge




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